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                                                                     UNITED STATES DISTRICT COURT
                                                                          DISTRICT OF NEVADA
                                          9
                                         10        Ronald Lemoine,                                    Case No: 2:17-cv-01956
                                         11
6069 South Fort Apache Road, Suite 100




                                                                   Plaintiff,                         Complaint for Damages Pursuant
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                                         12        v.                                                 to the Fair Credit Reporting Act,
       Las Vegas, Nevada 89148




                                         13                                                           15 U.S.C. § 1681, et seq. and Fair
                                                   Transworld Systems Inc.,                           Debt Collection Practices Act 15
                                         14                                                           U.S.C § 1692, et seq.
                                         15                        Defendant.
                                                                                                      Jury Trial Demanded
                                         16
                                         17
                                         18
                                         19
                                                                                        INTRODUCTION
                                         20
                                              1.        Ronald Lemoine (“Plaintiff”), by and through Plaintiff’s counsel, brings this
                                         21
                                                        suit to challenge the actions of Transworld Systems Inc. (“Defendant”) with
                                         22
                                                        regard to Defendant’s unauthorized and unlawful credit inquiry, and
                                         23
                                                        Defendant’s attempts to unlawfully and abusively collect a debt allegedly
                                         24
                                                        owed by Plaintiff.
                                         25
                                              2.        Plaintiff makes these allegations on information and belief, with the exception
                                         26
                                                        of those allegations that pertain to Plaintiff, or to Plaintiff’s counsel, which
                                         27
                                                        Plaintiff alleges on personal knowledge.
                                         28

                                              ________________________________________________________________________________________________________
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                                          1   3.      While many violations are described below with specificity, this Complaint
                                          2           alleges violations of the statutes cited in their entirety.
                                          3   4.      Unless otherwise stated, all the conduct engaged in by Defendant took place
                                          4           in Nevada.
                                          5   5.      Any violations by Defendant were knowing, willful, and intentional, and
                                          6           Defendant did not maintain procedures reasonably adapted to avoid any such
                                          7           violation.
                                          8   6.      Unless otherwise indicated, the use of Defendant’s name in this Complaint
                                          9           includes all agents, employees, officers, members, directors, heirs, successors,
                                         10           assigns, principals, trustees, sureties, subrogees, representatives, and insurers
                                         11           of Defendant named.
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                                         12                                     JURISDICTION AND VENUE
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                                         13   7.      This Court has federal question jurisdiction pursuant to 28 U.S.C. §1331.
                                         14   8.      This action arises out of Defendant’s violations of the Fair Credit Reporting
                                         15           Act, 15 U.S.C. §1681 et seq. (“FCRA”), and the Fair Debt Collection
                                         16           Practices Act, 15 U.S.C. §1692 et seq. (“FDCPA”).
                                         17   9.      Venue is proper pursuant to 28 U.S.C. §1391 because all the conduct giving
                                         18           rise to this Complaint occurred in Nevada.
                                         19   10.     Defendant is subject to personal jurisdiction in Nevada as it conducts business
                                         20           in Nevada and is listed with the Nevada Secretary of State as a Foreign
                                         21           Corporation doing business in Nevada.
                                         22                                                 PARTIES
                                         23   11.     Plaintiff is a natural person who resides in Clark County, Nevada.
                                         24   12.     Plaintiff is a natural person whose credit report was affected by an
                                         25           unauthorized inquiry. In addition, Plaintiff is a “consumer” as that term is
                                         26           defined by 15 U.S.C. §1681a(c).
                                         27   13.     Plaintiff is a natural person allegedly obligated to pay a debt, and is a
                                         28           consumer as defined by 15 U.S.C. §1692a(3).

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                                          1   14.     Defendant is a corporation doing business in the State of Nevada.
                                          2   15.     Upon information and belief, Defendant’s website is https://www.tsico.com/.
                                          3   16.     According to Defendant’s website, Defendant is a “national debt collecting
                                          4           company.”
                                          5   17.     Defendant is a “person” as defined by 15 U.S.C. §1681a(b).
                                          6   18.     Plaintiff is informed and believes, and thereon alleges, that Defendant
                                          7           acquired Plaintiff’s credit information through an unauthorized inquiry of
                                          8           Plaintiff’s “consumer report” as defined by 15 U.S.C. §1681a(d)(1).
                                          9   19.     Defendant is a person who uses an instrumentality of interstate commerce or
                                         10           the mails in a business the principal purpose of which is the collection of
                                         11           debts, or who regularly collects or attempts to collect, directly or indirectly,
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                                         12           debts owed or due or asserted to be owed or due another and is therefore a
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                                         13           debt collector as that phrase is defined by 15 U.S.C. §1692a(6).
                                         14            FACTUAL ALLEGATIONS RELATING TO VIOLATIONS OF THE FCRA
                                         15   20.     Plaintiff has never had a relationship of any kind with Defendant.
                                         16   21.     Plaintiff has never conducted any business, nor incurred any financial
                                         17           obligations, with Defendant.
                                         18   22.     Upon Plaintiff’s review of his Trans Union credit report dated February 15,
                                         19           2017, Plaintiff discovered that on or about June 23, 2016, Defendant
                                         20           submitted an unauthorized credit report inquiry to Trans Union, a consumer
                                         21           reporting agency.
                                         22   23.     The credit report states that Defendant pulled Plaintiff’s credit report for an
                                         23           account review.
                                         24   24.     15 U.S.C. §1681b delineates the only permissible uses of, or access to,
                                         25           consumer reports.
                                         26   25.     Defendant’s inquiry for Plaintiff’s consumer report information, without
                                         27           Plaintiff’s consent and when Defendant had no account relationship with
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                                          1           Plaintiff, falls outside the scope of any permissible use or access included in
                                          2           15 U.S.C. §1681b.
                                          3   26.     On June 23, 2016, Defendant had no legitimate business need for the
                                          4           Plaintiff’s consumer report information, thereby falling outside the scope of
                                          5           15 U.S.C. §1681b. Therefore, Defendant violated 15 U.S.C. §1681b.
                                          6   27.     Defendant’s actions were willful under 15 U.S.C. §1681n because Defendant
                                          7           was aware of the FCRA’s prohibitions on impermissibly pulling consumers’
                                          8           credit reports. See Doe v. Sentech Employment Services, Inc., 186 F.Supp.3d
                                          9           732, 740 (E.D. Mich. May 16, 2016)(citing Singleton v. Domino's Pizza, LLC,
                                         10           2012 WL 245965, *4 (D.Md. Jan. 25, 2012)(“[A]ssertions that a defendant is
                                         11           aware of the FCRA, but failed to comply with its requirements, are sufficient
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                                         12           to support an allegation of willfulness and to avoid dismissal.”).
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                                         13   28.     Plaintiff suffered an invasion of his legally protect right to privacy when
                                         14           Defendant unlawful accessed Plaintiff’s confidential information on his credit
                                         15           report. The FCRA, through 15 U.S.C. §1681b, protects consumers like
                                         16           Plaintiff from this precise behavior.
                                         17   29.     Plaintiff has a common law right to keep his personal credit information
                                         18           private. E.g., Samuel D. Warren & Louis D. Brandeis, The Right to Privacy, 4
                                         19           Harv. L. Rev. 1155, 193 (1890). Congress sought to further protect that right
                                         20           by enacting the FCRA. Indeed, the common law tort of intrusion upon
                                         21           seclusion is preempted by the FCRA, and the FCRA expressly provides that
                                         22           Congress made the following finding: “There is a need to insure that
                                         23           consumer reporting agencies exercise their grave responsibilities with
                                         24           fairness, impartiality and a respect for the consumer’s right to privacy.” 15
                                         25           U.S.C. §1681a(4).
                                         26   30.     Further, Defendant increased the risk that Plaintiff will be injured if there is a
                                         27           data breach on Defendant’s computer systems by acquiring additional highly
                                         28           sensitive information about Plaintiff and saving that information onto its

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                                          1           computer system. Data breaches are increasingly common (see, e.g., Kerbs,
                                          2           Data Breaches, available at http://krebsonsecurity.com/category/data-
                                          3           breaches/), and financial institutions like Defendant are frequent targets of
                                          4           cybercriminals (see, e.g., Association of Certified Financial Crime Specialists,
                                          5           The Top 8 Largest Date Breaches in the Financial Services Industry,
                                          6           available at http://www.acfcs.org/the-top-8-largest-data-breaches-in-the-
                                          7           financial-services-industry/).
                                          8   31.     When Plaintiff realized Defendant impermissibly pulled Plaintiff’s report,
                                          9           Plaintiff felt that his privacy had been invaded upon and that his confidential
                                         10           information had been disclosed to Defendant, who had no right to the
                                         11           information.
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                                         12   32.     The injury suffered by Plaintiff is concrete because Defendant’s violation of
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                                         13           15 U.S.C. §1681b caused Plaintiff to suffer an invasion of privacy. In enacting
                                         14           15 U.S.C. §1681b, Congress specifically sought to protect consumers from
                                         15           invasions of privacy and created restrictions on access to consumers’ sensitive
                                         16           financial information in their credit reports.
                                         17           FACTUAL ALLEGATIONS RELATING TO VIOLATIONS OF THE FDCPA
                                         18   33.     Sometime prior to 2017, Plaintiff’s son incurred financial obligations to the
                                         19           Defendant in the amount of $783.00 (the “Debt”).
                                         20   34.     The Debt was incurred primarily for personal, family, or household purposes
                                         21           and is therefore a “debt” as defined by 15 U.S.C. §1692a(5).
                                         22   35.     Plaintiff has never had any association with, nor obligation to pay, the Debt,
                                         23           as it was not a debt incurred by Plaintiff.
                                         24   36.     Upon Plaintiff’s review of his Equifax credit report dated February 16, 2017,
                                         25           Plaintiff discovered that in or about January 2017, Defendant erroneously
                                         26           reported the Debt as a collection account on Plaintiff’s Equifax credit report.
                                         27   37.     Defendant made false representations as to the character (being owed by
                                         28           Plaintiff) and legal status (being a collection account of Plaintiff’s) of the

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                                          1           Debt since Plaintiff has never been associated with, nor obligated to pay, the
                                          2           Debt. Therefore, Defendant violated 15 U.S.C. §1692e(2)(A).
                                          3   38.     Defendant also violated Defendant violated 15 U.S.C. §1692e(8) when it
                                          4           communicated credit information which Defendant should be known to be
                                          5           false.
                                          6   39.     Additionally, the false representations stated above were means by which
                                          7           Defendant attempted to collect the Debt and obtain information concerning
                                          8           Plaintiff. Therefore, Defendant violated 15 U.S.C. §1692e(10).
                                          9   40.     Further, Defendant used unfair and unconscionable means to attempt to
                                         10           collect the Debt by attempting to collect an amount to which it was not
                                         11           authorized to collect form Plaintiff. Therefore, Defendant violated 15 U.S.C.
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                                         12           §1692f(1).
       Las Vegas, Nevada 89148




                                                                              FIRST CAUSE OF ACTION
                                         13
                                                                          THE FAIR CREDIT REPORTING ACT
                                         14                                15 U.S.C. §1681 et seq. (FCRA)
                                         15   41.     Plaintiff repeats, re-alleges, and incorporates by reference all above
                                         16           paragraphs.
                                         17   42.     The foregoing acts and omissions constitute numerous and multiple violations
                                         18           of the FCRA.
                                         19   43.     As a result of each and every negligent violation of the FCRA, Plaintiff is
                                         20           entitled to actual damages, pursuant to 15 U.S.C. §1681o(a)(1); and
                                         21           reasonable attorney’s fees and costs pursuant to 15 U.S.C. § 1681o(a)(2),
                                         22           from Defendant.
                                         23   44.     As a result of each and every willful violation of the FCRA, Plaintiff is
                                         24           entitled to actual damages or damages of not less than $100 and not more than
                                         25           $1,000 and such amount as the court may allowed for all other class members,
                                         26           pursuant to 15 U.S.C. §1681n(a)(1)(A); punitive damages as the court may
                                         27           allow, pursuant to 15 U.S.C. §1681n(a)(2); and reasonable attorney’s fees and
                                         28           costs pursuant to 15 U.S.C. §1681n(a)(3) from Defendant.

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                                                                            SECOND CAUSE OF ACTION
                                          1
                                                                    THE FAIR DEBT COLLECTION PRACTICES ACT
                                          2                              15 U.S.C. §1692 et seq. (FDCPA)
                                          3   45.     Plaintiff repeats, re-alleges, and incorporates by reference all above
                                          4           paragraphs.
                                          5   46.     The foregoing acts and omissions constitute numerous and multiple violations
                                          6           of the FDCPA, including but not limited to each and every one of the above-
                                          7           cited provisions of the FDCPA, 15 U.S.C. §1692, et seq.
                                          8   47.     As a result of each and every violation of the FDCPA, Plaintiff is entitled to
                                          9           actual damages pursuant to 15 U.S.C. §1692k(a)(1), statutory damages in an
                                         10           amount up to $1,000.00 pursuant to 15 U.S.C. §1692k(a)(2)(A) and
                                         11           reasonable attorney’s fees and costs pursuant to 15 U.S.C. §1692k(a)(3) from
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                                         12           Defendant.
       Las Vegas, Nevada 89148




                                         13                                         PRAYER FOR RELIEF
                                         14           Plaintiff respectfully requests the Court to grant Plaintiff the following relief
                                         15   against Defendant:
                                         16           •   an award of actual damages pursuant to 15 U.S.C. §1681o(a)(1) and
                                         17               §1692k(a)(1);
                                         18           •   an award of statutory damages of not less than $100 and not more than
                                         19               $1,000.00 pursuant to 15 U.S.C. §1681n(a)(1);
                                         20           •   an award of statutory damages of $1,000.00 pursuant to 15 U.S.C.
                                         21               §1692k(a)(2)(A);
                                         22           •   an award of costs of litigation and reasonable attorney’s fees pursuant to
                                         23               15 U.S.C. §1681n(a)(3), §1681o(a)(2), and §1692k(a)(3); and
                                         24           •   any other relief the Court deems just and proper.
                                         25   ///
                                         26   ///
                                         27   ///
                                         28   ///

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                                              COMPLAINT                                      !7
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                                          1                                            TRIAL BY JURY
                                          2   48.     Pursuant to the Seventh Amendment to the Constitution of the United States
                                          3           of America, Plaintiff is entitled to, and demands, a trial by jury
                                          4
                                          5   DATED this 19th day of July 2017.
                                          6                                                       Respectfully submitted,
                                          7
                                                                                                  KAZEROUNI LAW GROUP, APC
                                          8
                                          9                                                       By: /s/ Michael Kind
                                                                                                      Michael Kind, Esq.
                                         10
                                                                                                      6069 S Fort Apache Rd, Suite 100
                                         11                                                           Las Vegas, Nevada 89148
6069 South Fort Apache Road, Suite 100




                                                                                                      Attorneys for Plaintiff
  KAZEROUNI LAW GROUP, APC




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       Las Vegas, Nevada 89148




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